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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                              4:12CR3114

      vs.
                                                               ORDER
WILLIAM WHITEHOUSE,

                     Defendant.


      The court has orally examined the financial status of the defendant in
support of Defendant’s request for appointed counsel. The court finds the above-
named defendant is currently eligible for appointment of counsel pursuant to the
Criminal Justice Act, 18 U.S.C. §3006A, and Amended Criminal Justice Act Plan
for the District of Nebraska.

      Accordingly,

      IT IS ORDERED:
      1)     The Federal Public Defender for the District of Nebraska is
             appointed, and Jessica Milburn shall promptly enter an appearance
             as counsel for the above named defendant.

      2)     The Clerk shall provide a copy of this order to the Federal Public
             Defender for the District of Nebraska and to the appointed attorney.



      April 13, 2017.
                                               BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
